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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                   Case No. 0:21-cv-60385-AHS


  SAMEER FAROOQ,

             Plaintiff,
                                                                 CLASS ACTION
  v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC d/b/a/ ARS ACCOUNT
  RESOLUTION SERVICES

          Defendant.
  _______________________________________/

     DEFENDANT, HEALTHCARE REVENUE RECOVERY GROUP, LLC d/b/a
  ACCOUNT RESOLUTION SERVICES’, ANSWER AND AFFIRMATIVE DEFENSES
              TO PLAINTIFF’S CLASS ACTION COMPLAINT

        COMES NOW, Defendant, HEALTHCARE REVENUE RECOVERY GROUP, LLC

 d/b/a ACCOUNT RESOLUTION SERVICES (“HRRG”), and files this its Answer and

 Affirmative Defenses to the Class Action Complaint in the above-entitled matter, denies each and

 every allegation in the Complaint, unless otherwise admitted or qualified in this Answer, and states

 and alleges as follows:

                                 JURISDICTION AND VENUE

        1.       Admitted for purposes of jurisdiction, venue and claims identification purposes

 only; otherwise denied.

        2.       Admitted for purposes of jurisdiction, venue and claims identification purposes

 only; otherwise denied.




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        3.     Admitted for purposes of jurisdiction, venue and claims identification purposes

 only; otherwise denied.

        4.     Admitted for purposes of jurisdiction, venue and claims identification purposes

 only; otherwise denied.

                                          PARTIES

        5.     Admitted for purposes of jurisdiction and venue only; otherwise denied.

        6.     Admitted for purposes of jurisdiction and venue only; otherwise denied.

        7.     Defendant hereby demands a jury trial.

                                FACTUAL ALLEGATIONS

        8.     Admitted.

        9.     Admitted.

        10.    Admitted.

        11.    Admitted.

        12.    Admitted.

        13.    Admitted.

        14.    Admitted.

        15.    Admitted.

        16.    Admitted.

        17.    Admitted.

        18.    Admitted.

        19.    Admitted.

        20.    Admitted.

        21.    Admitted.



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        22.     Admitted.

        23.     Admitted to the extent that on July 16, 2019 HRRG sent the attached letter to the

 Plaintiff; otherwise denied.

        24.     Admitted to the extent that the document provided in Exhibit A is self-evident.

 Otherwise, denied; Defendant HRRG demands strict proof thereof.

        25.     Denied; Defendant HRRG demands strict proof thereof.

        26.     Denied; Defendant HRRG demands strict proof thereof.

        27.     Admitted to the extent that the document provided in Exhibit A is self-evident.

 Otherwise, denied; Defendant HRRG demands strict proof thereof.

        28.     Denied; Defendant HRRG demands strict proof thereof.

        29.     Denied; Defendant HRRG demands strict proof thereof.

                                CLASS ACTION ALLEGATIONS

        30.     Admitted only to the extent of claims identification. Otherwise, denied.

        31.     Denied. Defendant HRRG demands strict proof thereof.

        32.     Denied. Defendant HRRG demands strict proof thereof.

        33.     Denied. Defendant HRRG demands strict proof thereof.

        34.     Denied. Defendant HRRG demands strict proof thereof.

        35.     Denied. Defendant HRRG demands strict proof thereof.

        36.     Denied. Defendant HRRG demands strict proof thereof.

        37.     Denied. Defendant HRRG demands strict proof thereof.

        38.     Denied. Defendant HRRG demands strict proof thereof.

        39.     Denied. Defendant HRRG demands strict proof thereof.

        40.     Denied. Defendant HRRG demands strict proof thereof.



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        41.     Denied. Defendant HRRG demands strict proof thereof.

        42.     Denied. Defendant HRRG demands strict proof thereof.

                                            Count I
                               [Fair Debt Collection Practices Act]

        43.     HRRG incorporates by reference all of its answers to the above paragraphs of the

 Complaint as though fully stated herein.

        44.     Denied. Defendant HRRG demands strict proof thereof.

        45.     Admitted to the extent that the subject correspondence does not disclosed that the

 Plaintiff cannot be sued to collect the consumer debt; otherwise denied.

        46.     Admitted to the extent that the subject correspondence does not contained the

 language identified on Plaintiff’s statement in this Paragraph. Otherwise, denied.

        47.     Denied; Defendant demands strict proof thereof.

        48.     Denied; Defendant demands strict proof thereof.

        49.     Denied; Defendant demands strict proof thereof.

        50.     Denied; Defendant demands strict proof thereof.

        51.     Denied; Defendant demands strict proof thereof.

        52.     Denied; Defendant demands strict proof thereof.

        53.     Denied; Defendant demands strict proof thereof.

                                            Count II
                         [Florida’s Consumer Collection Practices Act]
                                   Section 559.72(9) Fla. Stat.

        54.     HRRG incorporates by reference all its answers to the above paragraphs of the

 Complaint as though fully stated herein.

        55.     Admitted to the extent that the subject Paragraph accurately recites the prohibition

 outlined under Section 559.72(9) Fla. Stat. other denied.

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        56.     Admitted to the extent that the subject correspondence does not contained the

 language identified on Plaintiff’s statement in this Paragraph. Otherwise, denied.

        57.     Admitted.

        58.     Denied; Defendant demands strict proof thereof.

        59.     Denied; Defendant demands strict proof thereof.

                                  AFFIRMATIVE DEFENSES

 FIRST AFFIRMATIVE DEFENSE

        The Plaintiff failed to state a claim upon which relief can be granted. Therefore, Plaintiff’s

 claims should be dismissed pursuant to Rule 12(b)(6) Fed. R. Civ. P.

 SECOND AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred in whole or in part by the applicable statutes of limitations of

 the Fair Debt Collection Practices Act (“FDCPA”) since the alleged action or inaction, even if

 demonstrated as true, exceeds more than one (1) year from the date of the filing of this Complaint.

 THIRD AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred by the doctrine of accord and satisfaction.

 FOURTH AFFIRMATIVE DEFENSE

        While HRRG denies that Plaintiff has been damaged in any way, if it should be determined

 that Plaintiff has been damaged, then HRRG alleges such damage was not caused by HRRG but

 was proximately caused or contributed to by the conduct of others for whom HRRG is not

 responsible or liable.

 FIFTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims for relief are barred in whole or in part because HRRG at all times acted

 in a reasonable manner and in good faith.



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 SIXTH AFFIRMATIVE DEFENSE

        To the extent Plaintiff has been damaged, which HRRG specifically denies, Plaintiff has

 failed to mitigate those damages and therefore should not be able to recover any unmitigated

 damages from HRRG.

 SEVENTH AFFIRMATIVE DEFENSE

        Plaintiffs are not entitled to recover any damages, or any recovery awarded should be

 reduced by the amount of damages which reasonably could have been avoided, because Plaintiffs

 failed to take reasonable steps to mitigate damages with respect to the matters alleged in the

 Complaint.

 EIGHTH AFFIRMATIVE DEFENSE

        HRRG lacked “actual knowledge” to support a claim under Section 559.72(9) Fla. Stat.

 against the Plaintiff or any alleged or prospective class member.

 NINTH AFFIRMATIVE DEFENSE

        Defendant affirmatively alleges that the alleged actions of the Defendant and its agents and

employees are protected by the “bona fide error” defense pursuant to Section 1692k of the Fair

Debt Collection Practices Act (FDCPA), and/or Florida’s Consumer Collection Practices Act

(FCCPA) because such actions or inactions, if they occurred were not intentional and resulted from

a bona fide error notwithstanding the Defendant’s maintenance of procedures reasonably adapted

to avoid such errors.

        WHEREFORE, Defendant, HEALTHCARE REVENUE RECOVERY GROUP, LLC

 d/b/a ACCOUNT RESOLUTION SERVICES prays for an order and judgment of this Court in its

 favor against Plaintiff as follows:

    1. dismissing all alleged causes of action against HRRG with prejudice and on the merits; and



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    2. awarding HRRG such other and further relief as the Court deems just and equitable,

        including its fees and reasonable costs in defending against this action.

    Dated this 19th day of February 2021.

                                                      Respectfully submitted,

                                                      /s/ Ernest H. Kohlmyer, III
                                                      Ernest H. Kohlmyer, III


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

 February 19, 2021, via the Clerk of Court’s CM/ECF system which will provide electronic notice

 to the attorneys of record.


                                                      /s/ Ernest H. Kohlmyer, III
                                                      Ernest H. Kohlmyer, III
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                                                      REVENUE RECOVERY GROUP, LLC
                                                      d/b/a ACCOUNT RESOLUTION
                                                      SERVICES.




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